            Sealed
                Case 4:23-cr-00398 Document 5 Filed on 08/31/23 in TXSD Page 1 of 1
Public and unofficial staff access                                                            United States District Court
     to this instrument are                 UNITED STATES DISTRICT COURT                        Southern District of Texas
   prohibited by court order                SOUTHERN DISTRICT OF TEXAS                               ENTERED
                                                   HOUSTON DIVISION                              August 31, 2023
                                                                                                Nathan Ochsner, Clerk

           UNITED STATES OF AMERICA                           §
                                                              §
                                                              §     CRIMINAL NO: 4:23-cr-00398-1
                            V.
                                                              §
                                                                    SEALED
                                                              §
           EDWARD SEUNG OK,                                   §
           a.k.a., “RICK LEE,”                                §
                                                              §
           a.k.a., “SEUNG MOK OK”
                                                              §
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                                     ORDER FOR ISSUANCE OF BENCH WARRANT


              A         CRIMINAL INDICTMENT             has been returned against the defendant listed

           below.

             It is ORDERED that a warrant be issued for the arrest of said defendant. Upon arrest and

           appearance, a judicial determination shall be made as to detention or release on conditions. The

           United States Government recommends to the Court the following:

           Defendant

           EDWARD SEUNG OK,
           a.k.a., “RICK LEE,”
           a.k.a., “SEUNG MOK OK”                                 X DETENTION
           627 DEEP VALLEY DRIVE, APT 408,
           ROLLING HILLS ESTATES, CA 90274                          RELEASED ON CONDITIONS
                                                                    APPEARANCE BOND IN THE
                                                                    AMOUNT OF: $

              SIGNED at Houston, Texas, on                  August 31, 2023                      .




                                                        UNITED STATES MAGISTRATE JUDGE
